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 4                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5                                    AT SEATTLE

 6
        NATIONAL PRODUCTS INC.,
 7                           Plaintiff,
                                                        C16-402 TSZ
 8         v.
                                                        ORDER
 9      BELKIN INTERNATIONAL, INC.,
10                           Defendant.

11
            Counsel having telephonically advised the Court that this matter has been resolved
12
     and that no issue remains for the Court’s determination,
13
            NOW, THEREFORE, IT IS ORDERED that this case is DISMISSED with
14
     prejudice and without costs.
15
            In the event settlement is not perfected, either party may move to reopen and trial
16
     will be scheduled, provided such motion is filed within 60 days of the date of this Order.
17
            The Clerk is directed to send a copy of this Order to all counsel of record.
18
            IT IS SO ORDERED.
19
            Dated this 21st day of December, 2017.
20

21

22
                                                      A
                                                      Thomas S. Zilly
                                                      United States District Judge
23

     ORDER - 1
